                   Case
                      Case
                        2:20-cv-00768-JAD-VCF
                            2:20-cv-00768 Document
                                              Document
                                                   1-2 Filed
                                                        4 Filed
                                                             04/28/20
                                                                 04/29/20
                                                                       Page
                                                                          Page
                                                                            1 of 12 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District
                                                    __________      of Nevada
                                                               District of __________

   Project Lion LLC, dba Crush dba Greek Sneek,                      )
  Project M LLC dba La Comida and Project W LLC,                     )
  dba La Cave, Individually & on Behalf of all Others                )
                  Similarly Situated                                 )
                            Plaintiff(s)                             )
                                                                     )                          2:20-cv-00768-JAD-VCF
                                v.                                           Civil Action No.
                                                                     )
           Badger Mutual Insurance Company                           )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Badger Mutual Insurance Company




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: David C. O'Mara, Esq.
                                           O'Mara Law Firm, P.C.
                                           311 E. Liberty Street
                                           Reno, NV 89501



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
        4/29/20
                    Case
                       Case
                         2:20-cv-00768-JAD-VCF
                             2:20-cv-00768 Document
                                               Document
                                                    1-2 Filed
                                                         4 Filed
                                                              04/28/20
                                                                  04/29/20
                                                                        Page
                                                                           Page
                                                                             2 of 22 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
